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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION



 SECURITIES AND EXCHANGE
 COMMISSION,
        Plaintiff,
                -against-
 ROBERT J. MUELLER, DEEPROOT FUNDS
 LLC (a/k/a dprt Funds, LLC), AND POLICY
 SERVICES INC.,
                                                          Civil Action No.: 5:21-cv-785-XR
           Defendants,
                 -and-
 DEEPROOT TECH LLC, DEEPROOT
 PINBALL LLC, DEEPROOT STUDIOS LLC,
 DEEPROOT SPORTS & ENTERTAINMENT
 LLC, AND DEEPROOT RE 12621 SILICON DR
 LLC,
           Relief Defendants.

                 UNOPPOSED MOTION FOR A STATUS CONFERENCE

       Plaintiff, Securities and Exchange Commission (“SEC”), with the concurrence of

defendant Robert J. Mueller, respectfully requests the Court schedule a status conference in this

matter. On May 14, 2024, the Court held a status conference and heard argument on Mr. Mueller’s

motion for a continuance. ECF No. 153. At the close of the status conference, the Court asked the

parties to provide an update regarding settlement negotiations. The parties have met and conferred

and have not been able to agree on the final language of a consent. The parties request the court

convene a status conference to discuss the June 10, 2024, trial date and next steps. As discussed in

Mr. Mueller’s motion for a continuance, Mr. Davis is in trial through Thursday, May 23 and
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requests the Court hold a status conference either Friday, May 24, or Tuesday, May 28. The SEC

is available at the Court’s convenience.


Dated: May 21, 2024

                                           Respectfully submitted,

                                           /s/ Charlie L. Divine
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                                           Fernando Campoamor, Trial Counsel
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                                           Counsel for Plaintiff Securities and Exchange
                                           Commission




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                                CERTIFICATE OF SERVICE

        I certify that on May 21, 2024, a true and correct copy of the foregoing document was filed
electronically through the Court’s CM/ECF system, which will send copies to all counsel of record.

                                             /s/ Charlie L. Divine
                                             Charlie L. Divine
                                             Counsel for Plaintiff United States Securities
                                             and Exchange Commission
